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                                   STATEMENT OF FACTS

        Your affiant, Cesar Olivarez, is a Task Force Officer with the Federal Bureau of
Investigation (FBI) assigned to the Chicago Joint Terrorism Task Force (JTTF). In my duties as a
Task Force Officer, I have gained training and experience in interviewing and interrogation
techniques, arrest procedures, search warrant applications, the execution of searches and seizures,
the exploitation of lawfully obtained evidence and data, and various other procedures. In addition
to my regular duties, I am also currently reviewing public tips, videos, and documentation, among
other evidence, associated with the riots and civil disorder that occurred. As a Task Force Officer,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 12, 2021, a former colleague of David Wiersma’s, hereinafter referred to as
Witness 1, submitted an online tip to the FBI National Threat Operations Center, reporting that
Wiersma participated in the breach of the Capitol on January 6, 2021. Agents have interviewed
Witness 1 and learned that he/she worked with Wiersma at PCI Energy Center, a division of
Westinghouse Electric, in Lake Bluff, Illinois for about 10 to 15 years. Witness 1 also indicated
that he and Wiersma were Facebook friends on Facebook account “David W. Wiersma.” Witness
1 stated that he/she read Wiersma’s post explaining that Wiersma had entered the U.S. Capitol on
January 6, 2021.

      Your affiant located Facebook account “David W. Wiersma” (hereinafter referred to
as Account 1). Your affiant located posts made on January 6, 2021, on Account 1.

       Specifically, on January 6, 2021, at 5:21 pm the following post was made:




       This same post appeared on a second Facebook account identified as “DW Wier”
(hereinafter Account 2) posted on January 6, 2021 at 5:22 pm, one minute after the post to Account

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1. A screenshot of the post is immediately below. Agents learned about Account 2 and a third
Facebook account described more fully below from an anonymous tipster, who indicated these
two accounts belong to Wiersma. Witness 1 also identified Account 2 as belonging to Wiersma.




        Your affiant also located the photograph below posted to Account 1. According to an agent
with the United States Capitol Police the photo below depicts the Crypt, a circular room in the
center of the U.S. Capitol building, located on the first floor.




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      As mentioned above, an anonymous tipster identified a third Facebook account (hereinafter
Account 3) to agents. Below is a still image from a Facebook live video from Account 3 identified
as Dave Wiersma posted on January 6, 2021, at 1:46 PM. The Facebook live video depicted a
man wearing a red and blue baseball cap with an American flag style neck scarf around his neck.




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Agents believe the man in the still image depicts David Wiersma. Agents compared this still image
to Wiersma’s Illinois driver’s license photograph and the two are consistent.




        Your affiant obtained the following still image, marked as Image 1, from United States
Capitol Police security cameras, which captured an image of Wiersma inside the U.S. Capitol
building near the Senate entrance on January 6, 2021, during the Capitol Riot. Wiersma is wearing
a red and blue baseball cap with an American flag style neck scarf hanging around his neck, which
is the same clothing Wiersma wears in the still image discussed above and posted to Account 3.
Agents have shown this photograph to Witness 1, and he/she positively identified Wiersma.
Wiersma is circled below in red. Dawn Frankowski is circled in blue and is discussed further
below.



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       1.


                                                 Image 1

       Wiersma also was identified in other areas of the U.S. Capitol. Below is a still image posted
from a video publicly submitted on a DLive account. DLive is video live streaming service.
According to an agent with the United States Capitol Police, the photo below depicts the Senate
wise room, a room in the U.S. Capitol building located on the first floor. Wiersma is depicted
wearing the same red and blue baseball cap with an American flag style neck scarf hanging around
his neck, which is the same clothing Wiersma wears in images discussed in this Statement and
posted to Account 3.




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       Records from Facebook show a variation of Wiersma’s given name is listed for Accounts
1 through 3 along with the same phone number:

   •   Account 1: Username: david.w.wiersma; Name: David W. Wiersma; Phone number:
       ending in 7403
   •   Account 2: Username: dw.wier.7; Name: DW Wier; Phone number: ending in 7403
   •   Account 3: Username: dave.wiersma.71; Name: Dave Wiersma; Phone number: ending in
       7403

        On April 12, 2021, U.S. Magistrate Judge Michael G. Harvey authorized a search warrant
for telephone number ending in 7403. According to records obtained through a search warrant
which was served on AT&T in and around the time of the incident, the cell phone associated with
phone number ending in 7403 was identified as having utilized a cell site consistent with providing
service to a geographic area that includes the interior of the United States Capitol building.

       Agents interviewed Wiersma at his home in Illinois. Wiersma admitted that he attended
the protest in Washington D.C. on January 6, 2021. When asked about his social media posts
discussed above on the day of the protest, Wiersma refused to provide any other information
without his attorney present.

       A photograph marked Image 2 below and posted on Account 3 depicted an “unidentified
female” outside the U.S. Capitol with Wiersma. Agents noticed this woman also appeared inside
the U.S. Capitol with Wiersma in Image 1 above. The tag associated with her image was linked to
a Facebook account with the Display Name: “Dawn Maga.” Based on a review of Account 3 and
further investigation described below, agents believe this “unidentified female,” “Dawn Maga,”
accompanied Wiersma to Washington, D.C.




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                                             Image 2

        Agents reviewed Wiersma’s cellular telephone records to identify “Dawn Maga” and
noticed that he frequently called cellular telephone number ending in 3939. Public records revealed
that cellular telephone number ending in 3939 was associated with an individual identified as A.
Frankowski. Agents located a Facebook account for A. Frankowski within Wiersma’s friends list
on Account 3, but photographs of individuals on this account (A. Frankowski) did not match those
of the “unidentified female” in Image 1.

       Agents then searched through Wiersma’s friends list on Account 3 by the last name
“Frankowski.” Agents located a Facebook account with the following identifiers: User Name:
dawn.frankowski and Display Name: “Dawna Frank.”

         Agents searched Illinois Secretary of State records for a driver’s license photograph for
Dawn Frankowski and compared it to the woman depicted in Image 1 and Image 2, wearing a
white knit hat, white boots, and an American flag scarf. All were consistent and depicted the same
female. Cellular telephone records revealed that Dawn Frankowski with an address in Naperville,
Illinois, is the subscriber of telephone number ending in 3939. Agents therefore identified the
“unidentified female” as Dawn Frankowski.

       Agents interviewed Frankowski at her home, regarding her whereabouts on January 6,
2021. Frankowski admitted that she traveled to Washington, D.C. to support her president, Donald
Trump, and not to disrupt the election. On January 5, 2021, Frankowski, Wiersma, and another
man drove to the D.C. area. On January 6, 2021, Frankowski, Wiersma, and the other man attended
the Save America Rally in Washington, D.C. together. After the rally concluded, Frankowski and
Wiersma followed the crowd to the U.S. Capitol Building, however, the other man did not

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accompany them. Frankowski stated that she entered the United States Capitol Building with
Wiersma and that she believed they were inside the U.S. Capitol for approximately thirty minutes.
Frankowski stated that she and Wiersma entered two rooms inside the building. Frankowski
identified herself (circled in blue) and Wiersma (circled in red) in the following images, marked
Image 3 and 4. 1




                                                    Image 3




1
 The FBI has reviewed the information available for Frankowski’s cell phone number to determine whether there
was any evidence that devices associated with the cell phone number were in the area of the U.S. Capitol Building
on January 6, 2021. Agents did not locate Frankowksi’s cell phone number in the information available.

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                                                 Image 4

        Agents compared Images 3 and 4 to Image 1 above and identified Frankowski standing
next to Wiersma inside the U.S. Capitol building near the Senate Wing doors on January 6, 2021,
during the Capitol Riot. Frankowski is circled in blue in Image 1 above.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Wiersma and Frankowski violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Wiersma and Frankowski
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly




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conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Cesar Olivarez
                                                     Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of September, 2021.
                                                                          2021.09.13
                                                                          14:21:19 -04'00'
                                                    _____________________________________
                                                    HONORABLE ROBIN M. MERIWEATHER
                                                    UNITED STATES MAGISTRATE JUDGE




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